HYDEE FELDSTEIN SOTO, City Attorney (SBN 106866)
DENISE
     CaseC. MILLS,
            2:22-cv-02944-FLA-PD                 (SBN 191992)88
                    Chief Deputy City AttorneyDocument                 Filed 12/27/23         Page 1 of 19 Page ID
SCOTT MARCUS, Chief Assistant City Attorney (SBN 184980)  #:729
GABRIEL S. DERMER, Assistant City Attorney (SBN 229424)
ARLENE N. HOANG, Deputy City Attorney (SBN 193395)
200 North Main Street, 6th Floor, City Hall East
Los Angeles, California 90012
Telephone Number: 213.978.7508
Facsimile Number: 213.978.7011
Arlene.Hoang@lacity.org

Attorneys for Defendants,
CITY OF LOS ANGELES,
LOS ANGELES POLICE DEPARTMENT, and
LOS ANGELES BOARD OF POLICE COMMISSIONERS

                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER
GARRY MATTHEWS, DOMINIC ROSS HUNN,                                                       2:22-cv-02944-FLA (PDx)
and JAMAR HEARNS, individually and as class
representatives,
                              v.                    PLAINTIFF(S),

CITY OF LOS ANGELES, LOS ANGELES POLICE                                          APPLICATION TO THE CLERK
DEPARTMENT, AND LOS ANGELES BOARD OF
POLICE COMMISSIONERS,                                                                  TO TAX COSTS
                                                  DEFENDANT(S)
Complete this form, including the Bill of Costs chart in section 2 and, if claiming witness fees, the Witness Fees chart in section 3.
The completed form must then be submitted to the Court in two ways: (1) saved as a PDF document and e-filed (with all necessary
attachments) in the case docket using the “Clerk to Tax Costs (CV-59)” event in the Court’s CM/ECF System; and (2) saved as a
Word document (.doc or .docx) and submitted by email (without attachments) to Cost_BillsLA@cacd.uscourts.gov. See L.R. 54-3 et
seq. and the Bill of Costs Handbook (www.cacd.uscourts.gov/court-procedures/filing-procedures/bill-costs) for more information.


 Name(s) of party or parties           City of Los Angeles, Los Angeles Police Department, and Los Angeles Board of Police
 claiming costs:                       Commissioners

 Judgment entered on:                  October 31, 2023                                  Docket #:       75

 Names of party(ies) against Garry Matthews, Dominic Ross Hunn, and Jamar Hearns, individually and as
 whom judgment was entered: class representatives,

                                  DECLARATION UNDER 28 U.S.C. § 1924
I declare under penalty of perjury that the costs itemized in this CV-59 Form are correct and were necessarily
incurred in this action and that the services for which fees have been charged were actually and necessarily
performed.
 Date: November 14, 2023                     Signature:                                      /s/
                                             Name:                  Arlene N. Hoang, Deputy City Attorney
                                             ☒ Attorney of          City of Los Angeles, Los Angeles Police Department,
                                                Record for:         and Los Angeles Board of Police Commissioners
                                                      COURT USE ONLY
  X Application GRANTED in whole/part; costs are taxed in the amount of $ 5,997.20.
  ☐
  ☐ Application DENIED because: ☐ Not timely filed (L.R. 54-2.1).
                                 ☐ Insufficient supporting documentation provided (L.R. 54-2.1).
                                 ☐ Filer is not prevailing party (L.R. 54-1).

 Date: December 27, 2023                   Kiry K. Gray, District Court Executive/Clerk of Court
                                              By: __________________________________
                                                  Deputy Clerk


CV-59 (09/21)                        APPLICATION TO THE CLERK TO TAX COSTS                                                  Section 1
         Case 2:22-cv-02944-FLA-PD Document 88 Filed 12/27/23 Page 2 of 19 Page ID
Case Title: GARRY MATTHEWS, et al., v. CITY OF #:730
                                               LOS ANGELES, et al.; Case No: 2:22-cv-02944-FLA (PDx)

                                                   BILL OF COSTS
                              The Clerk does not have discretion to tax any item
                                not identified as taxable in the Local Rules.
    Click in one of the grey boxes in the “Amount Claimed” column, enter the relevant amount, and then use the
  “tab” key to move to the next field; this will cause the form to adjust the column total at the bottom of the chart.
                                A list of disallowance codes is provided below the chart.

                        SUPPORTING DOCUMENTS                 AMOUNT                ~ IF ANY AMOUNT DISALLOWED ~
          AMOUNT          (Must be itemized below and       ALLOWED AMOUNT CODE*                       ADDITIONAL REASONS
 TAB     CLAIMED cross-referenced to attachments.)                           (Shaded columns for Court use only.)
         L.R. 54-3.1 Clerk’s Fees (only if in 28 USC § 1914 or www.uscourts.gov/services-forms/fees/district-court-miscellaneous-fee-
         schedule)
   1

         L.R. 54-3.2 Fees for Service of Process
   2

         L.R. 54-3.3 United States Marshal’s Fees
   3

         L.R. 54-3.4 Transcripts of Court Proceedings (order or stipulation required and must be attached)
   4

         L.R. 54-3.5 Depositions (if order or stipulation required by rule, it must be attached)
                        Tab 5A - Invoice for reporting
                        services for depo of witness
                        Officer John Byun                      $5,997.20
                        Tab 5B - Invoice for reporting
                        services for depo of witness
                        Officer Eboni Bryant
                        Tab 5C - Invoice for reporting
                        services for depo of witness
                        Monique Turner
                        Tab 5D - Invoice for reporting
   5
         $5997.20       services for depo of witness
                        Jamar Hearns [Vol 1]
                        Tab 5E - Invoice for reporting
                        services for depo of witness
                        Garry Sykes Matthews
                        Tab 5F - Invoice for reporting
                        services for depo of witness
                        [Officer] Eric Lloyd Miller
                        Tab 5G - Invoice for reporting
                        services for depo of witness
                        Jamar Hearns [Vol 2]
         L.R. 54-3.6 Witness Fees (TAXED AT STATUTORY RATE ONLY; complete Witness Fees Chart, below)
   6

         L.R. 54-3.7 Interpreter’s Fees (document translation costs are not taxable)
   7

         L.R. 54-3.8 Docket Fees (only as provided by 28 U.S.C. § 1823)
   8

   9     L.R. 54-3.9 Court-Appointed Experts, Masters, Commissioners, and Receivers (attach appointment order)


 CV-59 (11/21)                       APPLICATION TO TAX COSTS – BILL OF COSTS                                             Section 2
                Case 2:22-cv-02944-FLA-PD        Document 88 Filed 12/27/23 Page 3 of 19 Page ID
                                 SUPPORTING DOCUMENTS   #:731
                                                       AMOUNT          ~ IF ANY AMOUNT DISALLOWED ~
                 AMOUNT            (Must be itemized below and         ALLOWED          AMOUNT CODE*            ADDITIONAL REASONS
 TAB             CLAIMED         cross-referenced to attachments.)                       (Shaded columns for Court use only.)


                 L.R. 54-3.10 Certification, Exemplification and Reproduction of Documents (if order or stip required, it must be attached)
                 L.R. 54-3.10(a): “cost of copies of documents necessarily filed and served”
          (a)

                 L.R. 54-3.10(b): “cost of copies of documents or other materials admitted into evidence”
          (b)

                 L.R. 54-3.10(c): “Fees for an official certification of proof respecting the non-existence of a document or record”
          (c)

                 L.R. 54-3.10(d): “Patent Office charges” for necessary “patent file wrappers and prior art patents”
10
          (d)

                 L.R. 54-3.10(e): “Notary fees” of taxable documents
          (e)

                 L.R. 54-3.10(f): “Fees for certification or exemplification of any document or record necessarily obtained for use in the case”
          (f)

                 L.R. 54-3.10(g): “cost of physically replicating or reproducing material necessarily obtained for use in the case”
          (g)

                 L.R. 54-3.11 Premiums on Undertakings and Bonds
     11

                 L.R. 54-3.12 Other Costs (Court order must be attached; only visual aids, models, and photographs taxable under this rule)
     12

                 L.R. 54-3.13 State Court Costs (taxable only if taxable in state court; include citation to applicable state statute or rule)
     13

                 L.R. 54-4 Items Taxable as Costs on Appeal (only items taxable under Fed. R. App. P. 39(e))
     14

                 L.R. 54-5 Items Taxable as Costs on a Bankruptcy Appeal to the District Court
     15

TOTAL
                 $5997.20                                              $5,997.20       $0.00



                *Reason Codes for Disallowance of Claimed Costs:

                “A” – No supporting documents provided.
                “B” – Order/Stip required but not provided.
                “C” – Documents provided do not support full amount claimed.
                “D” – Item does not fall within the scope of the Local Rule.
                “E” – Invoice includes both taxable and non-taxable costs, but no breakdown is provided.
                “F” – Amount claimed reduced by agreement after meet and confer.
                “G” – Other.




 CV-59 (11/21)                                 APPLICATION TO TAX COSTS – BILL OF COSTS                                                 Section 2
     Case 2:22-cv-02944-FLA-PD Document 88 Filed 12/27/23 Page 4 of 19 Page ID
                                                 #:732
  Case Title: GARRY MATTHEWS, et al., v. CITY OF LOS ANGELES, et al.; Case No: 2:22-cv-02944-FLA (PDx)

                                                  WITNESS FEES
  WITNESS FEES/EXPENSES COMPUTATION WORKSHEET: INSTRUCTIONS
    Attendance fees taxable only at statutory rate. 28 U.S.C. § 1821(b).
    Travel in a privately owned vehicle (“POV”) is computed at federal government rates in the year of travel. Visit gsa.gov
     for current POV mileage reimbursement rate.
    For mileage claims, distances should be documented (through Google maps or similar); point of trip origin should be
     documented if different from place of residence.
    Subsistence expenses (including lodging and meals) for overnight stay (if required due to distance) are allowed but may
     not exceed maximum per diem allowance for federal government employees. View gsa.gov lodging per diem rates. View
     gsa.gov meals and incidental expenses per diem rates.


                            WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                  ATTENDANCE        SUBSISTENCE          MILEAGE
                NAME, CITY AND STATE                                                                      Total Cost Each Witness
                                                Days    Total Cost Days   Total Cost Miles   Total Cost
                                                 XXX               XXX                XXX
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                                                            $0.00
                                                                                             TOTAL                          $0.00




CV-59 (11/21)                       APPLICATION TO TAX COSTS – WITNESS FEES                                                 Section 3
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 5 of 19 Page ID
                                   #:733




                            TAB 5
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 6 of 19 Page ID
                                   #:734




                        TAB 5A
                   Case 2:22-cv-02944-FLA-PD                             Document 88 Filed 12/27/23                                Page 7 of 19 Page ID
                                                                                #:735

         Veritext, LLC - Mid-Atlantic Region
         Tel. 888-777-6690 Email: Billing-Midatlantic@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Arlene N. Hoang                                                                                                               Invoice #:                 6681635
                    Los Angeles City Attorney                                                                                               Invoice Date:                6/30/2023
                    Civil Liability Division
                    200 N Main Street, 6th Floor                                                                                           Balance Due:                     $942.20
                    Los Angeles, CA, 90012

         Case: Matthews, Garry Et Al. v. City Of Los Angeles (22cv02944FLAPD)                                                                Proceeding Type: Depositions

        Job #: 5965442         |    Job Date: 6/15/2023 | Delivery: Normal
        Location:                  Los Angeles, CA
        Billing Atty:              Arlene N. Hoang
        Scheduling Atty:           William Claiborne Esq | Claiborne Law (DC)

         Witness: Officer John Byun, Serial number 41914                                                                      Quantity                   Price              Amount

                    Transcript Services - Certified Transcript                                                                  139.00                   $4.25              $590.75

                    Transcript - Supplemental Surcharges*                                                                       139.00                   $0.65                $90.35

                    Exhibits                                                                                                    193.00                   $0.70              $135.10

                    Litigation Package - Secure File Suite                                                                          1.00                $58.00                $58.00

                    Logistics & Processing                                                                                          1.00                $35.00                $35.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $33.00                $33.00

          Notes:     *Supplemental Surcharges Include: Virtual Proceeding                                                                     Invoice Total:                $942.20
                                                                                                                                                    Payment:                    $0.00
                                                                                                                                                       Credit:                  $0.00
                                                                                                                                                     Interest:                  $0.00
                                                                                                                                              Balance Due:                  $942.20
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




                                        THIS INVOICE IS 132 DAYS PAST DUE, PLEASE REMIT - THANK YOU
        Remit to:                                              Pay By ACH (Include invoice numbers):                                                     Invoice #: 6681635
        Veritext                                                         A/C Name:Veritext
        P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                    Invoice Date: 6/30/2023
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                            Balance Due: $942.20
        Fed. Tax ID: XX-XXXXXXX                                  Account No:4353454 ABA:071000288
                                                                          Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


85698
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 8 of 19 Page ID
                                   #:736




                        TAB 5B
                   Case 2:22-cv-02944-FLA-PD                             Document 88 Filed 12/27/23                                Page 9 of 19 Page ID
                                                                                #:737

         Veritext, LLC - Mid-Atlantic Region
         Tel. 888-777-6690 Email: Billing-Midatlantic@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Arlene N. Hoang                                                                                                               Invoice #:                 6926671
                    Los Angeles City Attorney                                                                                               Invoice Date:               10/26/2023
                    Civil Liability Division
                    200 N Main Street, 6th Floor                                                                                           Balance Due:                     $729.40
                    Los Angeles, CA, 90012

         Case: Matthews, Garry Et Al. v. City Of Los Angeles (22cv02944FLAPD)                                                                Proceeding Type: Depositions

        Job #: 6158101         |    Job Date: 10/18/2023 | Delivery: Normal
        Location:                  Los Angeles, CA
        Billing Atty:              Arlene N. Hoang
        Scheduling Atty:           William Claiborne Esq | Claiborne Law (DC)

         Witness: Officer Eboni Bryant - 30(b)(6)                                                                             Quantity                   Price              Amount

                    Transcript Services - Certified Transcript                                                                  122.00                   $4.25              $518.50

                    Transcript - Supplemental Surcharges*                                                                       122.00                   $0.65                $79.30

                    Exhibits                                                                                                        8.00                 $0.70                 $5.60

                    Litigation Package - Secure File Suite                                                                          1.00                $58.00                $58.00

                    Logistics & Processing                                                                                          1.00                $35.00                $35.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $33.00                $33.00

          Notes:     *Supplemental Surcharges Include: Virtual Proceeding                                                                     Invoice Total:                $729.40
                                                                                                                                                    Payment:                    $0.00
                                                                                                                                                       Credit:                  $0.00
                                                                                                                                                     Interest:                  $0.00
                                                                                                                                              Balance Due:                  $729.40
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                                     Invoice #: 6926671
        Veritext                                                         A/C Name:Veritext
        P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                  Invoice Date: 10/26/2023
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                            Balance Due: $729.40
        Fed. Tax ID: XX-XXXXXXX                                  Account No:4353454 ABA:071000288
                                                                          Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


85698
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 10 of 19 Page ID
                                    #:738




                            TAB 5C
                 Case 2:22-cv-02944-FLA-PD                              Document 88 Filed 12/27/23                                Page 11 of 19 Page ID
                                                                                #:739

         Veritext, LLC - Mid-Atlantic Region
         Tel. 888-777-6690 Email: Billing-Midatlantic@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Arlene N. Hoang                                                                                                               Invoice #:                 6926036
                    Los Angeles City Attorney                                                                                               Invoice Date:               10/24/2023
                    Civil Liability Division
                    200 N Main Street, 6th Floor                                                                                           Balance Due:                     $455.00
                    Los Angeles, CA, 90012

         Case: Matthews, Garry Et Al. v. City Of Los Angeles (22cv02944FLAPD)                                                                Proceeding Type: Depositions

        Job #: 6163975         |    Job Date: 10/19/2023 | Delivery: Normal
        Location:                  Los Angeles, CA
        Billing Atty:              Arlene N. Hoang
        Scheduling Atty:           William Claiborne Esq | Claiborne Law (DC)

         Witness: Monique Turner                                                                                              Quantity                   Price              Amount

                    Transcript Services - Certified Transcript                                                                    67.00                  $4.25              $284.75

                    Transcript - Supplemental Surcharges*                                                                         67.00                  $0.65                $43.55

                    Exhibits                                                                                                        1.00                 $0.70                 $0.70

                    Litigation Package - Secure File Suite                                                                          1.00                $58.00                $58.00

                    Logistics & Processing                                                                                          1.00                $35.00                $35.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $33.00                $33.00

          Notes:     *Supplemental Surcharges Include: Virtual Proceeding                                                                     Invoice Total:                $455.00
                                                                                                                                                    Payment:                    $0.00
                                                                                                                                                       Credit:                  $0.00
                                                                                                                                                     Interest:                  $0.00
                                                                                                                                              Balance Due:                  $455.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                                     Invoice #: 6926036
        Veritext                                                         A/C Name:Veritext
        P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                  Invoice Date: 10/24/2023
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                            Balance Due: $455.00
        Fed. Tax ID: XX-XXXXXXX                                  Account No:4353454 ABA:071000288
                                                                          Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


85698
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 12 of 19 Page ID
                                    #:740




                            TAB 5D
         Case 2:22-cv-02944-FLA-PD                       Document 88 Filed 12/27/23                        Page 13 of 19 Page ID
                                                                 #:741
                                                                                         INVOICE                                                  1 of 1
                                                                                        Invoice No.           Invoice Date              Job No.
                                                                                           1194192               11/4/2023              1158753
                                                                                         Job Date                            Case No.
       17835 VENTURA BLVD., SUITE 310 ENCINO, CA 91316
                                                                                         10/23/2023                  22-cv-02944-FLA-PD
       \., 888-272-0022 "' 818-343-7119 BENHYATT.COM
                                                                                                                 Case Name
                                                                                    Matthews, Garry vs. City of Los Angeles
       Jessica Mariani, Esq.
       *Office of the City Attorney - Business & Complex                                                    Payment Terms
       Litigation
       ATT.LEMU@lacity.org                                                                                   Due upon receipt
       Los Angeles, CA 90012


        Jamar Hearns, Volume 1
             Original and One Certified Copy                                                      157.00 Pages        @         6.250         981.25
             Key Word Index                                                                        19.00 Pages        @         0.000              0.00
             Exhibits / Black & White                                                              16.00 Pages        @         0.300             4.80
             Exhibits / Color                                                                      32.00 Pages        @         0.600             19.20
             Rough ASCII                                                                          151.00 Pages        @         2.850         430.35
             Per Diem - Half Day                                                                    1.00              @       325.000         325.00
                                                                                          TOTAL DUE        >>>                            $1,760.60
 Client Matter No. : C - 140393
 Location of Job : ALL PARTIES APPEARING REMOTELY VIA ZOOM
  Payment is not contingent upon any third-party reimbursement. Payments after 30 days shall bear a compounded monthly
  interest rate of 1.5%. Above-named addressee agrees to pay all costs of collection, including court costs and attorney's fees.
  **We accept all major credit cards. If you would like to pay with a credit card, please send a request to settings@benhyatt.com
  with the invoice number(s) and we will forward the credit card link.**
  Thank you for using Ben Hyatt Certified Deposition Reporters.
                                                                                             (-) Payments/Credits:                                 0.00
                                                                                             (+) Finance Charges/Debits:                           0.00
                                                                                             (=) New Balance:                             $1,760.60



Tax ID: XX-XXXXXXX
                                                 Please detach bottom portion and return with payment.




  Jessica Mariani, Esq.                                                             Invoice No.      : 1194192
  *Office of the City Attorney - Business & Complex                                 Invoice Date     : 11/4/2023
  Litigation                                                                        Total Due        : $1,760.60
  ATT. LEMU@lacity.org
  Los Angeles, CA 90012




                                                                                   Job No.           : 1158753
 Remit To: Ben Hyatt Certified Deposition Reporters                                BU ID             : 1-HYATT
           17835 Ventura Blvd.
                                                                                   Case No.          : 22-cv-02944-FLA-PD
           Suite 310
           Encino, CA 91316                                                        Case Name         : Matthews, Garry vs. City of Los Angeles
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 14 of 19 Page ID
                                    #:742




                            TAB 5E
         Case 2:22-cv-02944-FLA-PD                    Document 88 Filed 12/27/23                      Page 15 of 19 Page ID

                                                                                    INVOICE
                                                              #:743
                                                                                                                                              1 of 1
                                                                                   Invoice No.           Invoice Date               Job No.
                                                                                      1194350               11/10/2023              1158754
                                                                                    Job Date                             Case No.
                                                                                    10/24/2023                   22-cv-02944-FLA-PD
                                                                                                            Case Name
                                                                               Matthews, Garry vs. City of Los Angeles

       Jessica Mariani, Esq.
       *Office of the City Attorney - Business & Complex                                               Payment Terms
       Litigation
       ATT.LEMU@lacity.org                                                                              Due upon receipt
       Los Angeles, CA 90012


        Garry Sykes Matthews
             Original and One Certified Copy                                                  82.00 Pages        @          6.250         512.50
             Key Word Index                                                                   12.00 Pages        @          0.000              0.00
             Exhibits / Black & White                                                         23.00 Pages        @          0.300              6.90
             Exhibits / Color                                                                 26.00 Pages        @          0.600             15.60
             Rough ASCII                                                                      77.00 Pages        @          2.850         219.45
             Per Diem - Half Day                                                               1.00              @        325.000         325.00
                                                                                      TOTAL DUE >>>                                   $1,079.45
 Client Matter No. : C – 140393
 Location of Job : ALL PARTIES APPEARING REMOTELY VIA ZOOM
 Payment is not contingent upon any third-party reimbursement. Payments after 30 days shall bear a compounded monthly
 interest rate of 1.5%. Above-named addressee agrees to pay all costs of collection, including court costs and attorney's fees.
 **We accept all major credit cards. If you would like to pay with a credit card, please send a request to settings@benhyatt.com
 with the invoice number(s) and we will forward the credit card link.**
 Thank you for using Ben Hyatt Certified Deposition Reporters.




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Jessica Mariani, Esq.                                                        Invoice No.      : 1194350
  *Office of the City Attorney - Business & Complex                            Invoice Date     : 11/10/2023
  Litigation                                                                   Total Due        : $1,079.45
  ATT.LEMU@lacity.org
  Los Angeles, CA 90012




                                                                              Job No.           : 1158754
Remit To: Ben Hyatt Certified Deposition Reporters                            BU ID             : 1-HYATT
          17835 Ventura Blvd.
                                                                              Case No.          : 22-cv-02944-FLA-PD
          Suite 310
          Encino, CA 91316                                                    Case Name         : Matthews, Garry vs. City of Los Angeles
Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 16 of 19 Page ID
                                    #:744




                            TAB 5F
                 Case 2:22-cv-02944-FLA-PD                              Document 88 Filed 12/27/23                                Page 17 of 19 Page ID
                                                                                #:745

         Veritext, LLC - Mid-Atlantic Region
         Tel. 888-777-6690 Email: Billing-Midatlantic@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Arlene N. Hoang                                                                                                               Invoice #:                 6950776
                    Los Angeles City Attorney                                                                                               Invoice Date:                11/6/2023
                    Civil Liability Division
                    200 N Main Street, 6th Floor                                                                                           Balance Due:                   $1,471.94
                    Los Angeles, CA, 90012

         Case: Matthews, Garry Et Al. v. City Of Los Angeles (22cv02944FLAPD)                                                                Proceeding Type: Depositions

        Job #: 6280287         |    Job Date: 10/26/2023 | Delivery: Expedited
        Location:                  Bakersfield, CA
        Billing Atty:              Arlene N. Hoang
        Scheduling Atty:           William Claiborne Esq | Claiborne Law (DC)

         Witness: Eric Lloyd Miller                                                                                           Quantity                   Price              Amount

                    Transcript Services - Certified Transcript                                                                  142.00                   $4.25              $603.50

                    Transcript Services - Certified Transcript - Priority Request                                               142.00                   $3.92              $556.64

                    Transcript - Supplemental Surcharges*                                                                       142.00                   $0.65                $92.30

                    Exhibits                                                                                                      55.00                  $0.70                $38.50

                    Veritext Exhibit Package (ACE)                                                                                  1.00                $55.00                $55.00

                    Litigation Package - Secure File Suite                                                                          1.00                $58.00                $58.00

                    Logistics & Processing                                                                                          1.00                $35.00                $35.00

                    Hosting & Delivery of Encrypted Files                                                                           1.00                $33.00                $33.00

          Notes:     *Supplemental Surcharges Include: Virtual Proceeding                                                                     Invoice Total:              $1,471.94
                                                                                                                                                    Payment:                    $0.00
                                                                                                                                                       Credit:                  $0.00
                                                                                                                                                     Interest:                  $0.00
                                                                                                                                              Balance Due:                $1,471.94
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                                     Invoice #: 6950776
        Veritext                                                         A/C Name:Veritext
        P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                    Invoice Date: 11/6/2023
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                          Balance Due: $1,471.94
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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Case 2:22-cv-02944-FLA-PD   Document 88 Filed 12/27/23   Page 18 of 19 Page ID
                                    #:746




                            TAB 5G
                 Case 2:22-cv-02944-FLA-PD                              Document 88 Filed 12/27/23                                Page 19 of 19 Page ID
                                                                                #:747

         Veritext, LLC - Mid-Atlantic Region
         Tel. 888-777-6690 Email: Billing-Midatlantic@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Jessica A. Mariani                                                                                                            Invoice #:                 6976689
                     Los Angeles City Attorney
                                                                                                                                            Invoice Date:               11/13/2023
                     200 North Main Street
                     6th Floor, City Hall East                                                                                             Balance Due:                     $456.50
                     Los Angeles, CA, 90012


         Case: Matthews, Garry Et Al. v. City Of Los Angeles (22cv02944FLAPD)                                                                Proceeding Type: Depositions

         Job #: 6284875        |   Job Date: 10/27/2023 | Delivery: Normal

         Location:                 Bakersfield, CA
         Billing Atty:             Jessica A. Mariani
         Scheduling Atty:          William Claiborne Esq | Claiborne Law (DC)

         Witness: Jamar Hearns                                                                                               Quantity                    Price             Amount

                     Transcript Services - Original Transcript(s)                                                                 55.00                  $4.45              $244.75

                     Transcript - Supplemental Surcharges*                                                                        55.00                  $0.65                $35.75

                     Witness Read and Sign Services                                                                                 1.00               $50.00                 $50.00

                     Litigation Package - Secure File Suite                                                                         1.00               $58.00                 $58.00

                     Logistics & Processing                                                                                         1.00               $35.00                 $35.00

                     Hosting & Delivery of Encrypted Files                                                                          1.00               $33.00                 $33.00

          Notes:      *Supplemental Surcharges Include: Virtual Proceeding                                                                    Invoice Total:                $456.50
                                                                                                                                                   Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                  $456.50
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Remit to:                                              Pay By ACH (Include invoice numbers):                                                     Invoice #: 6976689
        Veritext                                                         A/C Name:Veritext
        P.O. Box 71303                                              Bank Name:BMO Harris Bank                                                  Invoice Date: 11/13/2023
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606
                                                                                                                                                   Balance Due: $456.50
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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